                                    Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 1 of 39

JS 44 (Rev. 04/21)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rales of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                           DEFENDANTS
          Chaplin, Nia and Chaplin, Lynette                                                                   The Franklin Institute, Franklin Institute EITC, LLC, Franklin Institute Research Laboratory
                                                                                                              Inc., Franklin Institute Science Museum, David Wrigley, and John Doe


   (b)   County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed Defendant              _____________________________
                                 (EXCEPTIN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (IfKnown)
         Louis B. Himmelstein                                                                               Richard B. Wickersham, Jr.
         Louis B. Himmelstein & Associates                                                                  Post & Schell, P.C.
         1420 Walnut St, Suite 1000                                                                         1600 John F. Kennedy Blvd
         Philadelphia, PA 19102                                                                             Philadelphia, PA 19103
         (215) 790-9996                                                                                     (215) 587-6612

II. BASIS OF JURISDICTION (Place an                         "X" in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (P/nce ™ "X" in One Boxfor Plaintiff
                                                                                                        (For Diversity Cases Only)                                     and One Boxfor Defendant)
□>    U.S. Government                03       Federal Question                                                                   PTF          DEF                                         PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                     Citizen of This State                       □ >     Incorporated or Principal Place     □ 4      □4
                                                                                                                                                        of Business In This State

□2    U.S. Government                □4                                                           Citizen of Another State          □2        □ 2     Incorporated and Principal Place   □ 5
         Defendant                              (Indicate Citizenship ofParties in Item III)                                                            of Business In Another State

                                                                                                  Citizen or Subject of a           □3        □ 3     Foreign Nation                     □ 6       □6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Placean                     “X" in One Box Only)                                                                 Click here for: Nature of S lit Code Descriptions.
          CONTRACT                                            TORTS                                 FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                 PERSONAL INJURY             1625 Drug Related Seizure            □ 422 Appeal 28 USC 158         □ 375 FalseTam
                                                                                                                                                                                     Claims Act
  120 Marine
  130 Miller Act
                                        310 Airplane
                                        315 Airplane Product
                                                                     | 365 Personal Injury -
                                                                           Product Liability
                                                                                                         of Property 21 USC 881
                                                                                                    1690 Other
                                                                                                                                           423 Withdrawal
                                                                                                                                               28 USC 157
                                                                                                                                                                         □ 376 Qui
                                                                                                                                                                               3729(a))
                                                                                                                                                                                        (31 USC

  140 Negotiable Instrument                  Liability             _J 367 Health Care/                                                       INTELLECTUAL                 400 State Reapportionment
  150 Recovery of Overpayment         1 320 Assault, Libel &               Pharmaceutical                                                   PROPERTY RIGHTS               410 Antitrust
      & Enforcement of Judgment              Slander                       Personal Injury                                                    820 Copyrights              430 Banks and Banking
C 151 Medicare Act                      330 Federal Employers’             Product Liability                                                                              450 Commerce
                                    .
L 152 Recovery of Defaulted                  Liability             __| 368 Asbestos Personal                                                                              460 Deportation
       Student Loans                    340 Marine                         Injury Product                                                         New Drug Application    470 Racketeer Influenced and
                                   -
       (Excludes Veterans)              345 Marine Product                 Liability                                                     _    840 Trademark                   Corrupt Organizations
 1153 Recovery of Overpayment
      of Veteran’s Benefits
                                             Liability
                                        350 Motor Vehicle
                                                                    PERSONAL PROPERTY
                                                                       370 Other Fraud
                                                                                                              LABOR
                                                                                                    1710 Fair Labor Standards
                                                                                                                                     □            Act of 2016
                                                                                                                                                                         □480 Consumer Credit
                                                                                                                                                                              (15 USC 1681 or 1692)
  160 Stockholders’ Suits          _
                                        355 Motor Vehicle              371 Truth in Lending              Act                                                            1 485 Telephone Consumer
  190 Other Contract                        Product Liability          380 Other Personal           1720 Labor/Management                      SOCIAL SECURITY                Protection Act
  195 Contract Product Liability        360 Other Personal                 Property Damage               Relations                            861 HIA (1395ff)           □490 Cable/Sat TV
  196 Franchise                             Injury
                                        362 Personal Injury -
                                                                       385 Property Damage
                                                                           Product Liability
                                                                                                    1740 Railway Labor Act
                                                                                                     751 Family and Medical
                                                                                                                                              862 Black Lung (923)
                                                                                                                                              863 DIWC/DIWW (405(g))
                                                                                                                                                                         □850 Securities/Commodities/
                                                                                                                                                                              Exchange
                                            Medical Malpractice                                           Leave Act                           864 SSID Title XVI          890 Other Statutory Actions
       REAL PROPERTY                      CIVIL RIGHTS              PRISONER PETITIONS              1790 Other Labor Litigation               865 RSI (405(g))            891 Agricultural Acts
   210 Land Condemnation           X 440 Other Civil Rights            Habeas Corpus:               1791 Employee Retirement                                              893 Environmental Matters
   220 Foreclosure                      441 Voting                     463 Alien Detainee                Income Security Act                 FEDERAL TAX SUITS            895 Freedom of Information
   230 Rent Lease & Ejectment           442 Employment                 510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff       Act
   240 Torts to Land                    443 Housing/                       Sentence                                                               or Defendant)          □896 Arbitration
   245 Tort Product Liability               Accommodations          □  530 General                                                       _
                                                                                                                                              871 IRS—Third Party        □899 Administrative Procedure
   290 All Other Real Property     □    445 Amer. w/Disabilities -
                                            Employment
                                                                       535 Death Penalty
                                                                       Other:
                                                                                                         IMMIGRATION
                                                                                                  ^1462 Naturalization Application
                                                                                                                                                   26 USC 7609                Act/Review or Appeal of
                                                                                                                                                                              Agency Decision
                                        446 Amer. w/Disabilities -
                                            Other
                                                                       540 Mandamus & Other
                                                                       550 Civil Rights
                                                                                                    1465 Other Immigration
                                                                                                         Actions
                                                                                                                                                                         □950 Constitutionality of
                                                                                                                                                                              State Statutes
                                        448 Education                  555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an          "X" in One Box Only)
      Original
      Proceeding
                        g]2 Removed from
                            State Court
                                                         □         Remanded fr om
                                                                   Appellate Court
                                                                                                 Reinstated or
                                                                                                 Reopened
                                                                                                                    □ 5 Transferred from
                                                                                                                        Another District
                                                                                                                                                     □      Multidistrict
                                                                                                                                                            Litigation -
                                                                                                                                                                                  | | 8 Multidistrict
                                                                                                                                                                                        Litigation -
                                                                                                                             (specify)                      Transfer                    Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)'.
                                        42 U.S. Code § 1983
VI. LAUoE Ur AL11U1>I
                                        Brief description of cause:
                                             Plaintiff alleges causes of action arising out of 42 U.S. Code § 1983
VII. REQUESTED IN                            ] CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                      CHECK YES only if demanded in complaint:




  RECEIPT#                       AMOUNT                                     APPLYING IFP                                    JUDGE                            MAG. JUDGE
                              Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 2 of 39

JS 44 Reverse (Rev. 04/21)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
       only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identity first the agency and then
       the official, giving both name and title.
  (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
       time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
       condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
       in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Vn.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Vni. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                                   Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 3 of 39

                                                              UNITED STATES DISTRICT COURT
                                                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                 DESIGNATION FORM
                       (to be used by counsel or pro se plaintiff to indicate the categoiy of the case for the purpose ofassignment to the appropriate calendar)

Address of Plaintiff: _                                         1830 18TH Street, Philadelphia, PA 19145
Address of Defendant:                                             222 20th Street, Philadelphia, PA 19103
Place of Accident, Incident or Transaction:                                 2000 Catherine Street, Philadelphia, PA 19146


RELATED CASE, IF ANY:

Case Number:                                                       Judge:                                                      Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:
                                                                                                                                  YesQ
 1.    Is this case related to property included in an earlier numbered suit pending or within one year
       previously terminated action in this court?                                                                                                       »□
                                                                                                                                                         n°d
2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                          Yes Q
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                             Yes Q
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights
       case filed by the same individual?
                                                                                                                                  Yes
                                                                                                                                                         »□
I certify that, to my knowledge, the within case           EH   is /   EH   is   not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE:                                                                                     Must sign here
                                                                             Attoniey-at-Law /Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL: (Place a V in one categoiy only)

A.             Federal Question Cases:                                                          B.   Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                           1.    Insurance Contract and Other Contracts
_      2.     FELA                                                                                   2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                              3.    Assault, Defamation
       4.     Antitrust                                                                              4.    Marine Personal Injury
       5.     Patent                                                                                 5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                             6.    Other Personal Injury (Please specify):
 ✓     7.     Civil Rights                                                                           7.    Products Liability
       8.     Habeas Corpus                                                                          8.    Products Liability - Asbestos
       9.     Securities Act(s) Cases                                                                9.    All other Diversity Cases
       10.    Social Security Review Cases                                                                 (Please specify):
       11.    All other Federal Question Cases
               (Please specify):



                                                                              ARBITRATION CERTIFICATION
                                                    (The effect of this certification is to remove the case from eligibility for arbitration.)

i, Richard B. Wickersham, Jr.                                           of„„rd „pro„ plllnM d0             h„bycatm
              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case

      □       exceed the sum of $150,000.00 exclusive of interest and costs:




Civ. 609 (5/20IS)
            Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 4 of 39




                       IN THE UNITED STATES DISTRICT COURT
                      FOR EASTERN DISTRICT OF PENNSYLVANIA

NIA CHAPLIN and LYNETTE CHAPLIN,                        )   CIVIL ACTION
                                                    )
               Plaintiff,                               )   NO.
                                                    )
               V-                                   )
                                    )
THE FRANKLIN INSTITUTE, FRANKLIN    )
INSTITUTE EITC, LLC, FRANKLIN       )
INSTITUTE RESEARCH LABORATORY INC., )
FRANKLIN INSTITTUTE SCIENCE MUSEUM,)                              JURY TRIAL DEMANDED
DAVID WRIGLEY, SCHOOL DISTRICT OF   )
PHILADELPHIA and JOHN DOE,          )
                                    )
           Defendant.               )
                                    )

                                   NOTICE OF REMOVAL

       Defendants, The Franklin Institute, Franklin Institute EITC, LLC, Franklin Institute

Research Laboratory Inc., Franklin Institute Science Museum and David Wrigley (hereinafter

“Petitioning Defendants”), by and through their attorneys, Post & Schell, P.C., hereby remove the

above-captioned action which is presently pending in the Court of Common Pleas of Philadelphia

County to the United States District Court for the Eastern District of Pennsylvania pursuant to 28

U.S.C.§1441 and 1446, based on federal question jurisdiction under 28 U.S.C.§1331. The grounds

for removal are as follows:

   I. INTRODUCTION/BACKGROUND/REMOVED CASE

       1.      On or about October 25, 2021, Plaintiffs, Nia Chaplin and Lynette Chaplin

(hereinafter “Plaintiffs”), filed a Complaint for damages in the Court of Common Pleas of

Philadelphia County. A true and correct copy of the Complaint is attached hereto as Exhibit “A”.

       2.      The Complaint names Petitioning Defendants, the School District of Philadelphia,

and a fictitious entity, John Doe, as Defendants.
               Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 5 of 39




          3.     This litigation arises out of an alleged science demonstration accident leading to an

eye injury suffered by Plaintiff, Nia Chaplin (hereinafter “Nia”), on December 2, 2019, at her

school - the Chester A. Arthur School on 2000 Catherine Street, Philadelphia, PA, 19146.

   II.         REMOVAL IS TIMELY

          4.     Plaintiffs served Petitioning Defendants with a copy of the Complaint on or after

October 28, 2021. This formal Notice of Removal is being filed within thirty (30) days of service,

as required under the law. See Murphy Bros, v. Michetti Pipe Stringing. Inc.. 526 U.S. 344, 347-

48 (1999).

          5.     Therefore, removal is timely under 28 U.S.C. § 1446(b).

   III.        VENUE IS PROPER

          6.     The United States District Court for the Eastern District of Pennsylvania is the

“district and division” that embraces the place, i.e., the Court of Common Pleas of Philadelphia

County, where this action is pending.

          7.     Therefore, venue is proper under 28 U.S.C. § 1441 (a).

   IV.         FEDERAL JURISDICTION EXISTS UNDER 28 U.S.C. $1331 (FEDERAL
               QUESTION JURISDICTION)

          8.     This action is within this Court’s original jurisdiction in accordance with 28 U.S.C.

§1331 because Plaintiffs assert causes of action which arise under federal statute. Merrell Dow

Pharm., Inc. v. Thompson, 478 U.S. 804, 808 (1986) (internal quotation marks omitted) (“a suit

arises under the law that creates the cause of action”); Caterpillar Inc. v. Williams, 482 U.S. 386,

392 (1987) (“[Fjederal question jurisdiction exists only when a federal question is presented on

the face of the plaintiffs properly pleaded complaint.”).




                                                   2
             Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 6 of 39




       9.        In particular, Plaintiffs allege that all of the Defendants to the instant litigation

violated her rights, privileges, and immunities in ways which were purportedly in violation of 42

U.S.C. § 1983.

       10.       Moreover, Plaintiffs bring ancillary state-law claims under theories of negligence,

premises liability, negligent infliction of emotional distress, and loss of filial consortium. See

Complaint at ^ 37-92.       As plead, Williams’s federal and state-law claims all derive from a

“common nucleus of operative fact”—the purported science demonstration accident, which

allegedly resulted in the minor-Nia’s eye injury. City of Chi, v. Int’l College of Surgeons, 522

U.S. 156, 164-65 (1997) (internal quotation marks omitted); Hartman v. Univ. of Maryland at

Baltimore. 595 F. App'x 179 (4th Cir. 2014); see Complaint at       37-92 (basing each of Plaintiffs’

claims on Defendants’ alleged complicity in causing Nia’s eye injury).

       11.       Thus, in accord with the above-cited cases and the Complaint, as plead, Plaintiffs’

state-law claims are “so related” to Plaintiffs 42 U.S.C. § 1983 claims that “they form part of the

same case or controversy under Article III of the United States Constitution” and fall within this

Court’s supplemental jurisdiction. 28 U.S.C. § 1367(a).

       12.       For these reasons, this Court has original and supplemental jurisdiction over this

action pursuant to 28 U.S.C. §§ 1331 and 1367.

   V. RULE OF UNANIMITY/CONSENT REQUIREMENT

       13.       The statute governing removal, 28 U.S.C. § 1446, “has been construed to require

that when there is more than one defendant, all must join in the removal petition....” Lewis v.

Rego Co., 757 F.2d 66, 68 (3d Cir. 1985) (citation omitted).




                                                   3
               Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 7 of 39




         14.     The requirement that all defendants agree to the removal is known as the “rule of

unanimity” or the “unanimity rule.” Balazilc v. County of Dauphin. 44 F.3d 209, 213 n.4 (3d Cir.

1995).

         15.     A defendant may establish unanimity either by jointly filing the notice of removal

or by separately obtaining consent to removal. Weinrach v. White Metal Rolling & Stamping

Corp., 1999 U.S. Dist. LEXIS 168, at *2 (E.D. Pa. 1999) (citing Balazik, supra.).

         16.     For consent to be effective, it must be expressed in writing and timely made by all

served defendants. 28 U.S.C. § 1446(b)(2)(A); see also The Knit With v. Aurora Yarns, 2010 U.S.

Dist. LEXIS 22592, at * 31 (E.D. Pa. 2010); see also Ogletree v. Barnes, 851 F. Supp. 184, 190

(E.D. Pa. 1994).

         17.     Flere, the only other non-fictitiously named Defendant besides Petitioning

Defendants, the School District of Philadelphia, has consented in writing to the removal of this

action. See School District of Philadelphia Consent to Removal, attached hereto as Exhibit “B.”

   VI. CONCLUSION

         18.     The instant civil action satisfies the requirements of federal question jurisdiction

under 28 U.S.C. § 1331 insofar as the instant litigation involves claims arising under federal law.

         19.     This Notice of Removal, and related papers, are timely under 28 U.S.C. § 1446(b)

because they have been filed within thirty (30) days’ notice of service of the Complaint.

         20.     Petitioning Defendants will also hereafter file copies of this Notice of Removal,

and related papers, with the Clerk of the Court of Common Pleas, Philadelphia County, in order to

effect removal of this action pursuant to 28 U.S.C. § 1446(d).

         21.     Simultaneous with the filing of this Notice of Removal, Petitioning Defendants

have served a copy of the Notice upon the Plaintiffs (via counsel).



                                                  4
           Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 8 of 39




       WHEREFORE, pursuant to 28 U.S.C. § 1441, et seq., and § 1446, et seq., Petitioning

Defendants, The Franklin Institute, Franklin Institute EITC, LLC, Franklin Institute Research

Laboratory Inc., Franklin Institute Science Museum and David Wrigley, respectfully request that

the above-captioned matter now pending in the Court of Common Pleas, Philadelphia County, be

removed to the United States District Court for the Eastern District of Pennsylvania.




 Dated: November        2021                  POST & SCHELL, P.C.




                                                     Richard B. Wickersham, Jr., Esquire
                                                     Isaac Berhane, Esquire

                                                     Attorneys for Defendants,
                                                     The Franklin Institute, Franklin Institute
                                                     EITC, LLC, Franklin Institute Research
                                                     Laboratory Inc., Franklin Institute Science
                                                     Museum and David Wrigley

                                                     Four Penn Center
                                                     13t!l Floor
                                                     1600 John F. Kennedy Boulevard
                                                     Philadelphia, PA 19103
                                                     (215) 587-6612

                                                     rwickersham@postschell.com




                                                 5
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                        EXHIBIT A
                       Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 10 of 39


       Court of Common Pleas of Philadelphia County                                 _ ...      for ProtlVoftpiarxUso QnlYl0P<!i(8l Niirnbar)
                     Trial Division
                                                                                     OCTOBER 2021                                              4q2M
                       Civil Cover Sheet                                     E-FlimaNumber:   2110047607                           UV4-JwO
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 NIA CHAPLIN                                                                  THE FRANKLIN INSTITUTE


PLAINTIFF'S ADDRESS                                                          DEFENDANT’S ADDRESS
 1830 S. 18TH STREET                                                           222 NORTH 20TH STREET
 PHILADELPHIA PA 19145                                                         PHILADELPHIA PA 19103


PLAINTIFF'S NAME                                                             DEFENDANT’S NAME
 LYNETTE CHAPLIN                                                               FRANKLIN INSTITUTE EITC,                  LLC


PLAINTIFF'S ADDRESS                                                          DEFENDANTS ADDRESS
 1830 S. 18TH STREET                                                              222 WORTH 20TH STREET
 PHILADELPHIA PA 19145                                                            PHILADELPHIA PA 19103


PLAINTIFF'S NAME                                                             DEFENDANTS NAME
                                                                                  FRANKLIN INSTITUTE RESEARCH LABORATORY INC.


PLAINTIFF'S ADDRESS                                                          DEFENDANT'S ADDRESS
                                                                                  222 NORTH 20TH STREET
                                                                                  PHILADELPHIA PA 19103


TOTAL NUMBER OF PLAINTIFFS            TOTAL NUMBER OF DEFENDANTS      COMMENCEMENT OF ACTION

                                                                       H    Complaint           CU Petition Action               CH     Notice of Appeal
                   2                                    7
                                                                       CD   Writ of Summons     D Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY           COURT PROGRAMS

                                Cl    Arbitration             IZ3 Mass Tort                      IZ] Commerce                      CD   Settlement
CD   $50,000.00 or less
                                (Z]   Jury                    LD Savings Action                  CH Minor Court Appeal             ID   Minors
H More than $50,000.00          D     Non-Jury                D Petition                         D Statutory Appeals               D    W/D/Survival
                                D     Other:
CASE TYPE AND CODE

  20 - PERSONAL INJURY - OTHER

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)            Pit FT)                                    IS CASE SUBJECT TO
                                                                                                                     COORDINATION ORDER?
                                                                        PRO PR07HY                                                YES


                                                                     OCT 25 2021
                                                                            S. RICE

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: NIA CHAPLIN ,                          LYNETTE CHAPLIN

Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                        ADDRESS

  LOUIS B. HIMMELSTEIN                                                            LOUIS B HIMMELSTEIN&ASSOCIATES
                                                                                  1420 WALNUT ST
PHONE NUMBER                               FAX NUMBER                             SUITE 1000
   (215)790-9996                           (215)790-9055                          PHILADELPHIA PA 19102

SUPREME COURT IDENTIFICATION NO.                                              E-MAIL ADDRESS

  41140                                                                           lawyers@hirranelsteinlawoffices.com

               ■UI.ING ATTORNEY OR PARTY                                      DATE SUBMITTED

                lMMELSTEIN                                                        Monday, October 25,                2021,       12:03 pm

                                                    FINAL COPY (Approved by the Prothonotary Clerk)
           Case 2:21-cv-05047 Document 1 Filed 11/16/21 Page 11 of 39




COMPLETE LIST OF DEFENDANTS:
    1. THE FRANKLIN INSTITUTE
         222 NORTH 20TH STREET
         PHILADELPHIA PA 19103
    2. FRANKLIN INSTITUTE EITC, LLC
         222 NORTH 20TH STREET
         PHILADELPHIA PA 19103
    3. FRANKLIN INSTITUTE RESEARCH LABORATORY INC.
         222 NORTH 20TH STREET
         PHILADELPHIA PA 19103
    4. FRANKLIN INSTITUTE SCIENCE MUSEUM
         222 NORTH 20TH STREET
         PHILADELPHIA PA 19103
    5. DAVID WRIGLEY
         222 NORTH 20TH STREET
         PHILADELPHIA PA 19103
    6. SCHOOL DISTRICT OF PHILADELPHIA
         440 NORTH BROAD STREET
         PHILADELPHIA PA 19130
    7. JOHN DOE
         123 MAIN STREET
         ANYWHERE PA 00000
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 LOUIS B. H1MMELSTEIN & ASSOCIATES, P.C.
 By; LOUIS B. HIMMELSTEIN, ESQUIRE                                                                  Filed         ,AfefcjSst^tiy>y the
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 By: MARK WESOSICI, ESQUIRE
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 ID# 60296
 1420 Walnut Street-Suite 1000
 Philadelphia, PA 19102
                                                                                                               vmmmm
 (215)790-9996
 ATTORNEY FOR PLAINTIFF

 Nia Chaplin, a minoqTrylier parent'                                               COURT OF COMMON PLEAS
 and natural guardian, Lynette Chaplin                                             PHILADELPHIA COUNTY
 1830 S, 18lU Street, Philadelphia, PA 19145
             and
 Lynette Chaplin                                                                              TERM, 2021
  1830 S. 18"1 Street, Philadelphia, PA 19145
             vs.
 The Franklin Institute                                                            No :
 222 North 20"' Street
 Philadelphia PA 19103                                                             Civil Action Complaint
             and
 Franklin Institute E1TC, LLC
 222 North 20'1' Street
 Philadelphia, PA 19103
             and
 Franklin Institute Research Laboratory Inc
 222 North 20lh Street
 Philadelphia, PA 19103
             and
 Franklin Institute Science Museum
 222 North 20lh Street
 Philadelphia, PA 19103
             and
 David Wrigley
 222 North 20'" Street
 Philadelphia, PA 19103
             and
 School District of Philadelphia
 440 North Broad Street
 Philadelphia, PA 19130
             and
 John Doe
 123 Main Street
 Anywhere USA 00000_____________________________________
                                                                                                      AVISO
                             NOTICE                                     Le Iran demandado a Listed en la corte, Si listed quiere defenderse
You have been sued in court If you wish to defend against the           de estas demandas expuestas en las piigmas siguientes, listed tiene
claims set forth in the following pages, you must take action within    veinte (20) dias de plazo al partir de la fecha de la demanda y la
twenty (20) days after this complaint and notice are served, by         notificaci6n. Hace falta asentar una comparencia escrita o en
entering a written appearance personally or by attorney and filing in   persona o con un abogado y entregar a la corte en forma escrita sus
writing with the court your defenses or objections to the claims set    defensas o sus objeciones a las demandas en contra de su persona,
forth against you. You are warned that if you fail to do so the case    Sea avisado que si listed no se deflende, la corte tomara medidas y
may proceed without you and a judgment may be entered against           puede continuar la demanda en contra suya sin previo aviso o
you by the court without further notice for any money claimed in        notificacion.    Ademiis, la corte pueda dccidir a favor del
the complaint or for any other claim or relief requested by the         demandante y requiere que usted cumpla con todas las provisioncs
Plaintiff. You may lose money or properly or other rights important     de esta demanda Usted puede perder dinero o sus propiendades u
to you.                                                                 otros derechos importantes para usted.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                            LLEVE    ESTA    DEMANDA      A   UN    ABOGADO
ONCE, IF YOU DO NOT HAVE A LAWYER OR CANNOT                             INMED1ATAMENTE. SI NO TIENE ABOGADO O SI NO
AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET                           TIENE EL DINERO SUFICIENTE DE PAGAR TAL SERV1CIO,
FORTH BELOW TO FIND OUR WHERE YOU CAN GET                               VAYA EN PERSONA O LLAME POR TELEFONO A LA
LEGAL HELP.                                                             OFICINA CUYA DIRECClCN SE ENCUENTRA ESCRITA
                                                                        ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR
PHILADELPHIA BAR ASSOCIATION                                            ASISTENCIA LEGAL.
Lawyer Referral and Information Service
One Reading Center                                                      ASOC1ACION DE LICENC1ADOS DE FILADELFIA
Philadelphia, Pennsylvania 19107                                        Servicio De Referencia E Informacion Legal
(215)238-6333                                                           One Reading Center, Filadelfia, Pennsylvania 19107
                                                                        (215)238-6333




                                                                                                                              Case ID: 211001928
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ATTORNEY FOR PLAINTIFF

Nia Chaplin, a minor, by her parent                              COURT OF COMMON PLEAS
and natural guardian, Lynette Chaplin                            PHILADELPHIA COUNTY
1830 S. 18,h Street, Philadelphia, PA 19145
         and
Lynette Chaplin                                                          TERM, 2021
1830 S. 18th Street, Philadelphia, PA 19145
         vs.
The Franklin Institute                                           No.:
222 North 20lh Street
Philadelphia PA 19103                                            Civil Action Complaint
         and
Franklin Institute EITC, LLC
222 North 20th Street
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         and
Franklin Institute Science Museum
222 North 20,h Street
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         and
David Wrigley
222 North 20,h Street
Philadelphia, PA 19103
         and
School District of Philadelphia
440 North Broad Street
Philadelphia, PA 19130
         and
John Doe
123 Main Street
Anywhere USA 00000

                                              COMPLAINT

         COMES NOW, Plaintiffs, Nia Chaplin and Lynette Chaplin, by and through their counsel,

Louis B. Himmelstein & Associates, P.C., and claims damages of the Defendants, individually, jointly

and/or severally, upon a cause of action whereof the following is a statement:




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        1.      Plaintiff, Nia Chaplin, is a minor individual, resident and citizen of the City of

Philadelphia, Commonwealth of Pennsylvania, residing at the above captioned address, and at all times

relevant herein, Plaintiff, Nia Chaplin, was caused to sustain serious and permanent orthopedic and

neurological injuries when she was struck in the head and eye due to the conduct of Defendants.

        2.       Plaintiff, Lynette Chaplin, is an adult individual, resident and citizen of the City of

Philadelphia, Commonwealth of Pennsylvania, residing at the above captioned address, and at all times

relevant herein, Plaintiff, Lynette Chaplin, was and is the parent and natural guardian of co-Plaintiff, Nia

Chaplin.

        3.       Defendant, The Franklin Institute, (hereinafter also referred to as Defendant(s)) is a

corporation, partnership, limited liability corporation and/or other business entity which regularly conducts

business in the City of Philadelphia, Commonwealth of Pennsylvania, and at all times herein material it did

own, and/or possess, and/or control, and/or maintain, lease and/or perform teaching/education services

and/or assemblies at 2000 Catharine Street, Philadelphia, PA, and it is believed and therefore averred that

Defendant did have employees, agents, servants and/or workmen that were involved in the incident more

particularly described hereinafter.

        4.       Defendant, Franklin Institute EITC, LLC, (hereinafter also referred to as Defendant(s))

is a corporation, partnership, limited liability corporation and/or other business entity which regularly

conducts business in the City of Philadelphia, Commonwealth of Pennsylvania, and at all times herein

material it did own, and/or possess, and/or control,            and/or maintain, lease and/or perform

teaching/education services and/or assemblies at 2000 Catharine Street, Philadelphia, PA, and it is believed

and therefore averred that Defendant did have employees, agents, servants and/or workmen that were

involved in the incident more particularly described hereinafterA

        5.       Defendant, Franklin Institute Research Laboratory Inc., (hereinafter also referred to as

Defendant(s)) is a corporation, partnership, limited liability corporation and/or other business entity which

regularly conducts business in the City of Philadelphia, Commonwealth of Pennsylvania, and at all times

herein material it did own, and/or possess, and/or control, and/or maintain, lease and/or perform



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teaching/education services and/or assemblies at 2000 Catharine Street, Philadelphia, PA, and it is believed

and therefore averred that Defendant did have employees, agents, servants and/or workmen that were

involved in the incident more particularly described hereinafter.

        6.       Defendant, Franklin Institute Science Museum, (hereinafter also referred to as

Defendant(s)) is a corporation, partnership, limited liability corporation and/or other business entity which

regularly conducts business in the City of Philadelphia, Commonwealth of Pennsylvania, and at all times

herein material it did own, and/or possess, and/or control, and/or maintain, lease and/or perform

teaching/education services and/or assemblies at 2000 Catharine Street, Philadelphia, PA, and it is believed

and therefore averred that Defendant did have employees, agents, servants and/or workmen that were

involved in the incident more particularly described hereinafter.

        7.       Defendant, David Wrigley, (hereinafter also referred to as Defendant(s)) is an adult

individual, resident and citizen of the Commonwealth of Pennsylvania, and at all times herein material,

was an employee, agent, servant, and/or workman of the Defendants, The Franklin Institute and/or

Franklin Institute EITC, LLC and/or Franklin Institute Research Laboratory Inc., and/or Franklin

Institute Science Museum, and Defendant did perform teaching/education services and/or assemblies at

2000 Catharine Street, Philadelphia, PA and was involved in the incident more particularly described

hereinafter.

        8.      Defendant, School District of Philadelphia, (hereinafter also referred to as Defendant(s))

is a corporation, limited liability corporation, school, local agency, government body and/or other entity

which regularly conducts business in the City of Philadelphia, Commonwealth of Pennsylvania, and at all

times herein material it did own, and/or possess, and/or control, and/or maintain, lease and/or perform

teaching/education services at 2000 Catharine Street, Philadelphia, PA, and it is believed and therefore

averred that Defendant did have employees, agents, servants and/or workmen that were involved in the

incident more particularly described hereinafter.

        9.      Defendant, John Doe, is a fictitious individual meant to represent the person involved in

the incident involving student, Plaintiff, Nia Chaplin, and who otherwise contributed to the reckless,



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wrongful, negligent, and/or illegal conduct complained of in this complaint which brought about the harm

complained of herein. After a reasonable search, the actual name of this fictitious party is unknown.

Within 20 days after the actual name of the Defendant has been identified, Plaintiff will file a motion to

amend the complaint replacing the Doe designation with the actual name.

        10.     At all times herein material, Defendants were either acting individually and/or on each

other’s, behalf and/or by and through their/its/his/his duly authorized agents, servants, workmen, bailees

and/or employees all of whom were acting in the course and scope of their/his/its employment and in the

furtherance of each of the Defendants’ businesses and affairs.

        11.     On or about December 3rd, 2019, and for a long time prior thereto, Defendants either

individually, jointly and/or severally, did own, possess, manage and control actually and for their/its own

business, and/or by and through its/their duly authorized agents, servants, workmen and/or employees

acting within the scope of their employment and in furtherance of the business of said Defendants, a

certain museum, real property, teaching institution and/or school and/or premises at and/or near 2000

Catharine Street, Philadelphia PA, including the subject classroom, assembly room, auditorium,

gymnasium, lunch room, and/or common areas.

        12.     On or about December 2nd, 2019, Plaintiff, Nia Chaplin, was an invitee and/or student at

the aforesaid location, lawfully and properly upon the premises, when she was caused to be injured due to

the careless, reckless and negligent conduct of each of the Defendants, either acting individually and/or by

and through its/thcir/his/his duly authorized agents, servants, workmen and/or employees, all of whom

were acting within the course and scope of their employment and authority.

        13.     At all times herein material, Plaintiff, Nia Chaplin, was a student at Chester A. Arthur

School, and was in the custody and care of the Defendants, and at the aforementioned time and location,

Plaintiff, Nia Chaplin, was in an assembly and/or class at Defendants’ school, which was presided over by

each of the Defendants’ employees, agents, workmen, teachers and/or servants, who were acting in the

course and scope of their employment with Defendants, The Franklin Institute and/or Franklin Institute




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EITC, LLC and/or Franklin Institute Research Laboratory Inc., and/or Franklin Institute Science

Museum and/or School District of Philadelphia.

        14.      On or about December 2nd, 2019, Defendant, John Doe and/or David Wrigley and/or

The Franklin Institute and/or Franklin Institute EITC, LLC and/or Franklin Institute Research

Laboratory Inc., and/or Franklin Institute Science Museum, was teaching the aforesaid assembly

and/or class on Defendant, School District of Philadelphia’s premises, when presenters and/or agents

and/or employees of Defendants were conducting a science presentation and mixed several chemicals in a

bottle and the reaction caused the bottle to shoot off, causing it to come in contact with Plaintiffs head,

which did cause serious, painful and permanent vision, orthopedic and/or neurological injuries and

damages.

        15.      At the aforesaid time and location, Plaintiff, Nia Chaplin, was an invitee and student

lawfully on the aforesaid premises, when Defendant, John Doe and/or David Wrigley and/or The

Franklin Institute and/or Franklin Institute EITC, LLC and/or Franklin Institute Research

Laboratory Inc., and/or Franklin Institute Science Museum, carelessly, recklessly and negligently

caused Plaintiff to be struck in the eye with a bottle and/or other object which caused Plaintiff to be thrown

about and to sustain a serious painful and permanent injury.

        16.      It is believed and therefore averred that on the aforesaid date, and for a long time prior

thereto, Defendants failed to provide safety goggles and/or shields to Plaintiff or her class mates, which

would have prevented and/or lessened the aforesaid injury.

        17.      On or about December 3rd, 2019, and for a long time prior thereto, Defendants had a

policy and/or procedure for teaching the assembly and/or class and/or science presentations without

providing eye protection and/or goggles and/or shields all the while knowing that it was required for the

safety of the students.

        18.     It is believed and therefore averred that Defendants did not have proper and safe facilities to

teach the assembly and/or class in, which caused Plaintiff, Nia Chaplin, to be struck in the eye with a bottle

and/or piece of equipment and/or object.



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        19.      On or about December 3rd, 2019, and for a long time prior thereto, Defendants did not

have proper storage space and/or cabinets and/or lockers for eye protection and/or goggles, which

Defendants knew, or in the exercise of reasonable care should have known would render them unable to

provide proper eye protection and/or safety equipment to students participating the aforesaid class,

including Plaintiff, Nia Chaplin, which in turn caused Plaintiff to sustain her injuries.

        20.      At all times herein material, Plaintiff, Nia Chaplin, was in the care and custody of the

Defendants, and had no choice but to attend the aforesaid class as part of her curriculum, and further had

no choice but participate in the classroom activities.

        21.      Defendants knew, or in the reasonable exercise of care should have known, that the

aforesaid premises and/or class and/or science presentation could not be taught in a safe and reasonable

manner that would protect individuals such as Plaintiff from bodily injuries, yet knowingly, carelessly,

negligently and/or recklessly chose to continue to teach it and compel students to confront the danger.

        22.      Defendants individually, jointly and/or severally compelled Plaintiff, Nia Chaplin, to be

placed in harm’s way, which did cause Plaintiff to come in contact with the bottle and/or equipment and/or

object causing serious, painful and permanent injuries and damages, which result was entirely foreseeable.

        23.      At all times herein material, Defendants engaged in conscience shocking behavior in that

they knowingly compelled students and minors to be placed in harm’s way, including Plaintiff, which

students they were charged with the care, custody and protection thereof.

        24.      Defendants knew or in the reasonable exercise of care should have known that failing to

provide eye protection and/or goggles in the subject demonstration and class posed a risk to students

and/or persons such as Plaintiff.

        25.      At all times herein material the subject realty was in a dangerous condition as there was

inadequate room and/or shields in place presenting flying objects from striking students and/or other

participants of the science presentation and/or experiment in question.

        26.      At all times herein material, there did exist a dangerous condition of Defendants’ realty

which caused the subject incident and minor Plaintiffs injuries and damages.



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        27.     The Defendants’ realty and class room and/or auditorium where the demonstration was

held was in a dangerous condition as it was not conducive of conducting experiments and/or

demonstrations such as the one conducted at the time and place of the incident,

        28.      The dangerous condition of the realty consisted of the following:

                 a)       having a classroom which was too small under the circumstances;

                 b)       failing to have warning signs or other appropriate markings on the realty so

                 experiments and/or science presentations such as the one conducted would not have taken

                 place;

                 c)       failing to have shields or other barriers to prevent flying objects from hitting the

                 students when conducting science experiments and/or demonstrations;

                 d)       failing to redesign the room so the same or similar demonstrations and/or science

                 experiments could be done in a safe fashion; and/or

                 e)       failing to have erected a safe podium and/or barrier and/or shield and/or make

                 other repairs or changes to the realty as disclosed in discovery as the classroom presented

                 a dangerous condition to the students.

        29.      The aforesaid incident, and minor Plaintiffs injuries, were caused solely by the

carelessness, recklessness, gross negligence and negligence of the Defendants and was in no manner

whatsoever due to any act or failure to act on the part of the Plaintiffs.

        30.      As a sole result of the aforementioned accident caused by the careless, reckless and

negligent conduct of each of the Defendants, Plaintiff, Nia Chaplin, has sustained serious, painful and

permanent injuries, internally and externally, to her eyes, head, brain, neck, back, pelvis, chest., shoulders,

arms, wrists, hands, fingers, legs, knees, ankles, and feet, and her bones, cartilages, ligaments, muscles,

nerves, blood vessels and soft tissues attached thereto were fractured, herniated, wrenched, bruised, and

otherwise injured including, but not limited to concussion with impaired neurological functions, bilateral

exophoria, headaches, psychological problems, balance dysfunction, exercise intolerance, and oculomotor

dysfunction; she suffered other serious and permanent orthopedic and neurological injuries, some or all of



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which are or may be aggravations of pre-existing conditions, the full extent of which have not as yet been

ascertained; she suffered excruciating and agonizing aches, pains and mental anguish, some or all of which

are or may be permanent in nature.

        31.     Further, by reason of the injuries sustained by Plaintiff, Nia Chaplin, she has suffered and

will continue to suffer great mental anguish, physical pain, and she has been hindered and prevented from

performing and engaging in her usual labor, employment, duties, occupations, household chores, and

pleasures thereby resulting in a loss, depreciation and diminution of his earnings and earning capacity, all

to his great and continuing detriment and loss.

        32.     Furthermore, Plaintiff, Nia Chaplin, has required various hospital, physician and medical

treatment, surgical expense and care, and consequently she has incurred hospital, physicians and medical

bills and expenses in and about an effort to cure herself of the aforesaid injuries, and she shall be obliged

to continue to obtain hospital and medical treatment and to make such expenditures for an indefinite time

in the future, all to her great and continuing detriment and loss.

        33.      As a direct and sole result of the accident, Plaintiff, Nia Chaplin, has or may hereinafter

incur other financial expenses and/or losses, and also loss of services and earnings and other items of

damage all to her great and continuing detriment and loss, and a claim for which is hereby also made.

        34.      As a further result of the instant occurrence, Plaintiff, Nia Chaplin, has suffered an injury

which is, may and shall be in full or in part, a serious impairment of and/or a permanent loss of a bodily

function, a permanent serious disfigurement and/or a permanent dismemberment, which is or shall be

permanent, irreparable and severe.

        35.      Plaintiff, Nia Chaplin, avers that the carelessness, recklessness and negligence of the

Defendants, individually, jointly and/or severally, consisted, of the following:

                 a)      mixing chemicals in a bottle and/or other object in front of students without eye
                         protection;

                 b)      causing Plaintiff to be struck in the eye by a bottle and/or object and/or other piece
                         of equipment;

                 c)      failing to provide eye protection and/or safety goggles;



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    d)    disregarding the rights, safety and position of the Plaintiff herein and others
          similarly situated;

    e)    having a policy and/or procedure for teaching an assembly and/or class without
          providing eye protection and/or goggles;

    f)    failing to have enough eye protection and/or goggles to give to the students,
          including Plaintiff;

    g)    teaching an assembly and/or class and/or field trip for years on end without
          providing eye protection and/or goggles;

    h)    failing to have proper storage to keep eye protection and/or goggles so as to
          prevent them from being lost, stolen and/or broken;

     i)   failing to provide adequate warning signs;

    j)    failing to warn the Plaintiff;

     k)   being otherwise careless, reckless and negligent;

     l)   failing to exercise due care under the circumstances;

     m)   performing a dangerous procedure too close to students without eye protection;

     n)   failing to properly secure the contents;

     o)   instructing John Doe to teach a curriculum with dangerous activities despite not
          having proper safety equipment including goggles and/or eye protection;

     p)   failing to use the required degree of due care for invitees such as Plaintiff;

     q)   being otherwise negligent as may be more fully revealed during discovery or at
          the time of trial of this matter;

     r)   failing to clear the area of students before mixing chemicals and/or performing the
          procedure;

     s)   failing to properly exercise their/its duty of supervision and control;

     t)   failing to properly instruct and/or train his/her/its agents, servants, workmen,
          employees, representatives, business associates and/or teachers;

     u)   failing to follow proper protocol for teaching an assembly and/or class;

     v)   striking Plaintiff with a bottle and/or object;

     w)   disregarding the rights, safety, and position of the Plaintiff, and failing to use
          required degree of due care;




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    x)     having a policy and/or procedure for demonstrating dangerous procedures, such as
           striking a tire ream and/or piece of equipment in front of students;

    y)     failing to close off the area prior to the accident;

    z)     teaching an assembly and/or class in a classroom that was too small, so as to force
           students to be close to the danger;

    AA)    failing to provide proper facilities and/or a proper class room to teach class;

     BB)   failing to use a different classroom;

    CC)    failing to purchase additional eye protection and/or goggles;

    DD)    failing to properly supervise his/her/its agents, servants, workmen, employees,
           representatives, business associates and/or teachers;

     EE)   failing to properly train his/its agents, servants, workmen, employees,
           representatives, business associates and/or teachers;

     FF)   knowingly running an underfunded facility;

     GG)   repeatedly performing dangerous procedures and/or repairs and/or lessons in front
           of students that did not have proper safety equipment and/or eye protection;

     HH)   failing to have secure signage warning students to wear safety equipment;

     II)   failing to have secure signage warning teachers and/or staff to follow safety
           procedures;

     JJ)   failing to warn the students to stand back;

     KK)   repeatedly compelling students to be in a dangerous situation;

     LL)   failing to teach proper safety procedures to the students;

     MM)   failing to instruct employees, staff, agents, and/or teachers on proper safety
            procedures for assemblies and/or classes;

     NN)   failing to supervise the school and/or institution;

     00)   failing to properly fund the school and/or institution;

     PP)   failing to maintain the real property in a manner that would protect Plaintiff;

     QQ)   hiring unqualified instructors and/or employees and/or teachers;

     RR)   failing to provide its instructors and employees with proper training to conduct
           experiments such as the one conducted on the day in question;




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                   SS)    failing to provide propre barriers and/or shields to prevent incidences such as the
                          one that occurred on the day in question;

                   TT)    conducting the demonstration in an unsafe room under the circumstances;

                   UU)    failing to properly conduct the demonstrations and/or experiment and/or class in a
                          safe fashion; and

                   VV)    causing Plaintiff to be struck and/or moved violently about during a class and/or
                          demonstration.

            36.    As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                                State Claims

                                             COUNT 1
                               NIA CHAPLIN vs. THE FRANKLIN INSTITUTE

            37.    Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            38.    As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                             COUNT II
                            NIA CHAPLIN vs. FRANKLIN INSTITUTE El l'C. LLC

            39.    Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.




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            40.     As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                           COUNT III
                  NIA CHAPLIN vs. FRANKLIN INSTITUTE RESEARCH LABORATORY INC,

            41.     Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            42.     As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.



                                            COUNT IV
                        NIA CHAPLIN vs. FRANKLIN INSTITUTE SCIENCE MUSEUM

            43.     Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            44.     As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                              COUNT V
                                      NIA CHAPLIN vs. DAVID WRIGLEY




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        52.     At all times relevant and material hereto, Defendant, John Doe and/or David Wrigley,

was acting under the direction and control of Defendants, The Franklin Institute and/or Franklin

Institute EITC, LLC and/or Franklin Institute Research Laboratory Inc., and/or Franklin Institute

Science Museum and/or the School District of Philadelphia.

        53.     At all times relevant and material hereto, Defendants, The Franklin Institute and/or

Franklin Institute EITC, LLC and/or Franklin Institute Research Laboratory Inc., and/or Franklin

Institute Science Museum and/or the School District of Philadelphia, individually, jointly and/or

severally as a matter of custom, policy and procedure:

                a)      failed to discipline the teachers, employees and/or agents for allowing students to
                        go without safety equipment and/or eye protection while dangerous procedures
                        and/or demonstrations were being performed;

                b)      promoted and/or failed to discourage policies that allowed students to go without
                        safety equipment and/or eye protection while dangerous procedures and/or
                        demonstrations were being performed;

                c)      instructed teachers and/or employees and/or agents to teach lessons and perform
                        dangerous procedures and/or demonstrations all the while knowing the students
                        did not have proper safety equipment and/or eye protection;

                d)      failed to train teachers to make sure students were wearing proper safety
                        equipment and/or eye protection during dangerous procedures and/or
                        demonstrations in class;

                e)      had a policy and/or procedure for teaching an assembly and/or class without
                        providing eye protection and/or goggles;

                f)      deliberately encouraged teachers and/or agents and/or employees to conduct
                        classes without safety equipment and/or eye protection;

                g)      failed to train teachers and/or agents and/or employees on the proper use of safety
                        equipment and/or eye protection;

                h)      deliberately fostered an environment where students would be subject to
                        dangerous procedures and/or demonstrations in class without proper safety
                        equipment and/or goggles and/or eye protection;

                i)      failed to instruct teachers and/or agents and/or employees to intervene when
                        students were being subjected to unsafe conditions without safety equipment
                        and/or eye protection;




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                j)       failed to train teachers and/or agents and/or employees to conduct inventory
                         checks so as to ascertain whether there were enough goggles and/or other forms of
                         eye protection for each student.

        54.      Defendants, The Franklin Institute and/or Franklin Institute EITC, LLC and/or

Franklin Institute Research Laboratory Inc., and/or Franklin Institute Science Museum and/or the

School District of Philadelphia, intentionally continued to perpetuate such policies and practices and/or

have deliberately failed to eliminate them.

        55.      Defendants, The Franklin Institute and/or Franldin Institute EITC, LLC and/or

Franklin Institute Research Laboratory Inc., and/or Franklin Institute Science Museum and/or the

School District of Philadelphia, policies, actions and/or omissions herein described directly and

proximately caused Plaintiff to be deprived of known rights and privileges, including deprivation of her

vision and sight, in violation of her right to substantive due process.

        56.      As a direct and proximate result of the actions, policies and procedures of Defendants,

The Franklin Institute and/or Franklin Institute EITC, LLC and/or Franklin Institute Research

Laboratory Inc., and/or Franklin Institute Science Museum and/or the School District of

Philadelphia, Plaintiff has suffered and/or will continue to suffer the aforementioned injuries, which

injuries were entirely foreseeable.

        57.      It is believed and therefore averred that Defendants had an objective awareness of similar

prior accidents and/or similar near misses.

        58.      Defendants’ violations of Plaintiffs substantive due process rights constitute violations of

Plaintiffs civil rights under 42 USC §1983.

        59.      It is believed that the policies and procedures outlined above are designed to cut

operational costs and as a result Defendants deliberately, willfully and knowingly placed students under

their care, custody and control into a dangerous environment.

        60.      The outlined policies, procedures and protocols shock the conscience.

        WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.



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            45.    Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            46.    As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                          COUNT VI
                      NIA CHAPLIN vs. SCHOOL DISTRICT OF PHILADELPHIA

            47.    Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            48.    As a direct and sole result of the aforesaid careless, reckless and negligence of the

Defendants, Plaintiff, Nia Chaplin, sustained serious, painful and permanent injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                             COUNT VII
                                      NIA CHAPLIN vs. JOHN DOE

            49.    Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            50.    As a direct and sole result of the aforesaid careless, reckless and negligence of the

Defendants, Plaintiff, Nia Chaplin, sustained serious, painful and permanent injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                              Federal Claims

            51.    Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.




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                                            COUNT VIII
                                NIA CHAPLIN vs. THE FRANKLIN INSTITUTE
                                      (42 USC §1983 -Monell Claim)

            61.     Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            62.     As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.



                                              COUNT IX
                             NIA CHAPLIN vs. FRANKLIN INSTITUTE EITC. LLC
                                      (42 USC §1983 -Monell Claim)

            63.     Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            64.     As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.



                                           COUNT X
                  NIA CHAPLIN vs. FRANKLIN INSTITUTE RESEARCH LABORATORY INC.
                                      (42 USC §1983 -Monell Claim)

            65.     Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.




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            66.    As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                           COUNT XI
                       NIA CHAPLIN vs. FRANKLIN INSTITUTE SCIENCE MUSEUM
                                     (42 USC §1983 -Monell Claim)

            67.    Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            68.    As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                             COUNT XII
                                     NIA CHAPLIN vs. DAVID WRIGLEY
                                     (42 USC §1983 -Monell Claim)

            69.    Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

            70.    As a direct and sole result of the aforesaid careless, reckless, and negligence of the

Defendants, Plaintiff, Nia Chaplin sustained serious, painful and permanent orthopedic and neurological

injuries.

            WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.




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                                               COUNT XIII
                    NIA CHAPLIN vs. SCHOOL DISTRICT OF PHILADELPHIA
                                    (42 USC §1983 -Monell Claim)

        71.     Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

        72.     As a direct and sole result of the aforesaid careless, reckless and negligence of the

Defendants, Plaintiff, Nia Chaplin, sustained serious, painful and permanent injuries.

        WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.

                                            COUNT XIV
                                      NIA CHAPLIN vs. JOHN DOE
                                    (42 USC §1983-Monell Claim)

        73.      Plaintiff hereby incorporates by reference each and every allegation contained in the

preceding paragraphs, as though fully set forth at length herein.

        74.      As a direct and sole result of the aforesaid careless, reckless and negligence of the

Defendants, Plaintiff, Nia Chaplin, sustained serious, painful and permanent injuries.

        WHEREFORE, Plaintiff, Nia Chaplin, claims damages of the Defendants, individually, jointly

and/or severally, for an amount in excess of Fifty-Thousand ($50,000.00) Dollars.



                                             PARENT CLAIMS

        75.      Plaintiffs incorporate herein by reference thereto, the preceding paragraphs, inclusive, as

fully as though the same were hereinafter set forth at length.

        76.      As a further result of the incident, Parent, Lynette Chaplin, has been obliged to expend

various and diverse sums of money for medical treatment, rehabilitation, medicines and medical care, in

and about an effort to cure her child, Nia Chaplin, of the severe injuries and/or trauma which she

sustained, and she will be obliged to continue to make such expenditures for an indefinite time in the

future, all to her continuing detriment and loss.




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        77.     As an additional result of the Plaintiff, Nia Chaplin’s injuries, the earnings of said minor

child will and/or may be impaired during the age of her minority, to which Plaintiff, Lynette Chaplin,

individually and as Parent and Natural Guardian is legally entitled and claim for which is therefore hereby

made.

        78.     As a further result of this incident which was caused by the negligence of the Defendants,

Plaintiff, Lynette Chaplin, has been obliged to expand various sums of money for medical attention,

medical care, therapy, counseling, and medical treatment and to incur diverse medical charges and other

medical, diagnostic and hospital expenses for the severe injuries which Plaintiff, Nia Chaplin, has

suffered.

        79.     As a further result of the incident and the injuries sustained by Plaintiff, Nia Chaplin,

Plaintiff, Lynette Chaplin, have suffered the following injuries and damages:

                         a.      emotional distress in seeing her child not developing normally as she
                                 would have;

                         b.      loss of life’s enjoyment and pleasures;

                         c.      having to expend monies for various types of therapy to aid in minor-
                                 plaintiffs development;

                         d.      severe stress and anxiety;

                         e.      expend monies to monitor or watch the child throughout her life;

                         f.      humiliation; and

                        g.      embarrassment.
        80.     As a direct and sole result of the incident, Plaintiff, Lynette Chaplin, had to incur other

financial expenses, medical bills, and/or other losses which do or may exceed amounts which she/he may

otherwise be entitled to recover, as well as further non-economic losses, all of which are recoverable.

                                       COUNT XV
                       LYNETTE CHAPLIN vs. THE FRANKLIN INSTITUTE

        81.      Plaintiffs incorporate herein by reference thereto, the preceding paragraphs, inclusive, as

fully as though the same were hereinafter set forth at length.




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        82.     As a result of the aforementioned negligence, recklessness and carelessness of the

Defendants, Plaintiff, Lynettc Chaplin, has sustained compensable damages.

        WHEREFORE, Plaintiff, Lynette Chaplin, claims damages of the Defendants, individually,

jointly and/or severally, for an amount in excess of Fifty Thousand Dollars ($50,000.00) including punitive

damages, exclusive of interest and costs pursuant to Pennsylvania Rule of Civil Procedure §238.

                                      COUNT XVI
                   LYNETTE CHAPLIN vs. FRANKLIN INSTITUTE EITC, LUC

        83.     Plaintiffs incorporate herein by reference thereto, the preceding paragraphs, inclusive, as

fully as though the same were hereinafter set forth at length.

        84.     As a result of the aforementioned negligence, recklessness and carelessness of the

Defendants, Plaintiff, Lynette Chaplin, has sustained compensable damages.

        WHEREFORE, Plaintiff, Lynette Chaplin, claims damages of the Defendants, individually,

jointly and/or severally, for an amount in excess of Fifty Thousand Dollars ($50,000.00) including punitive

damages, exclusive of interest and costs pursuant to Pennsylvania Rule of Civil Procedure §238.

                                 COUNT XVII
      LYNETTE CHAPLIN vs. FRANKLIN INSTITUTE RESEARCH LABORATORY INC.

        85.      Plaintiffs incorporate herein by reference thereto, the preceding paragraphs, inclusive, as

fully as though the same were hereinafter set forth at length.

        86.      As a result of the aforementioned negligence, recklessness and carelessness of the

Defendants, Plaintiff, Lynette Chaplin, has sustained compensable damages.

        WHEREFORE, Plaintiff, Lynette Chaplin, claims damages of the Defendants, individually,

jointly and/or severally, for an amount in excess of Fifty Thousand Dollars ($50,000.00) including punitive

damages, exclusive of interest and costs pursuant to Pennsylvania Rule of Civil Procedure §238.




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                                    COUNT XVIII
              LYNETTE CHAPLIN vs. FRANKLIN INSTITUTE SCIENCE MUSEUM

        87.      Plaintiffs incorporate herein by reference thereto, the preceding paragraphs, inclusive, as

fully as though the same were hereinafter set forth at length.

        88.     As a result of the aforementioned negligence, recklessness and carelessness of the

Defendants, Plaintiff, Lynette Chaplin, has sustained compensable damages.

        WHEREFORE, Plaintiff, Lynette Chaplin, claims damages of the Defendants, individually,

jointly and/or severally, for an amount in excess of Fifty Thousand Dollars ($50,000.00) including punitive

damages, exclusive of interest and costs pursuant to Pennsylvania Rule of Civil Procedure §238.

                                        COUNT XIX
                             LYNETTE CHAPLIN vs. DAVID WRIGLEY

        89.      Plaintiffs incorporate herein by reference thereto, the preceding paragraphs, inclusive, as

fully as though the same were hereinafter set forth at length.

        90.     As a result of the aforementioned negligence, recklessness and carelessness of the

Defendants, Plaintiff, Lynette Chaplin, has sustained compensable damages.

        WHEREFORE, Plaintiff, Lynette Chaplin, claims damages of the Defendants, individually,

jointly and/or severally, for an amount in excess of Fifty Thousand Dollars ($50,000.00) including punitive

damages, exclusive of interest and costs pursuant to Pennsylvania Rule of Civil Procedure §238.

                                      COUNT XX
                LYNETTE CHAPLIN vs. SCHOOL DISTRICT OF PHILADELPHIA

        91.      Plaintiffs incorporate herein by reference thereto, the preceding paragraphs, inclusive, as

fully as though the same were hereinafter set forth at length.

        92.      As a result of the aforementioned negligence, recklessness and carelessness of the

Defendants, Plaintiff, Lynette Chaplin, has sustained compensable damages.

        WHEREFORE, Plaintiff, Lynette Chaplin, claims damages of the Defendants, individually,

jointly and/or severally, for an amount in excess of Fifty Thousand Dollars ($50,000.00) including punitive

damages, exclusive of interest and costs pursuant to Pennsylvania Rule of Civil Procedure §238.




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                                          COUNT XXI
                                 LYNETTE CHAPLIN vs. JOHN DOE

        93.     Plaintiffs incorporate herein by reference thereto, the preceding paragraphs, inclusive, as

fully as though the same were hereinafter set forth at length.

        94.     As a result of the aforementioned negligence, recklessness and carelessness of the

Defendants, Plaintiff, Lynette Chaplin, has sustained compensable damages.

        WHEREFORE, Plaintiff, Lynette Chaplin, claims damages of the Defendants, individually,

jointly and/or severally, for an amount in excess of Fifty Thousand Dollars ($50,000.00) including punitive

damages, exclusive of interest and costs pursuant to Pennsylvania Rule of Civil Procedure §238.


                                              LOUIS B. HIMMELSTEIN & ASSOCIATES, P.C.


                                               By: /s/ Louis B. Himmelstein
                                                  LOUIS B. HIMMELSTEIN, ESQUIRE
                                                  Attorneys for Plaintiff




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                                                                                                         / >:          v
                                                             VERIFICATION                         Filed ,/&Jya                the

                     The undersigned, hereby deposes and says that the facts set forth in the ;

             and correct to the best of my knowledge, information and belief; and I realize that stateihejitsvpiisfbfhercin

             are subject to the penalties of 18 Pa. C.S. Section 4904, relating to unsworn falsification to authorities.


                                                                                  -Dp«u8^n«dby;



                                                                                 —7CA4DD7R401437...




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                        EXHIBIT B
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR EASTERN DISTRICT OF PENNSYLVANIA

NIA CHAPLIN and LYNETTE CHAPLIN,                           CIVIL ACTION

               Plaintiff,                                  NO.

               v.                                      )

THE FRANKLIN INSTITUTE, FRANKLIN    )
INSTITUTE EITC, LLC, FRANKLIN       )
INSTITUTE RESEARCH LABORATORY INC., )
FRANKLIN INSTITTUTE SCIENCE MUSEUM,)
DAVID WRIGLEY, SCHOOL DISTRICT OF   )
PHILADELPHIA and JOHN DOE,          )
                                    )
           Defendant.               )
                                    )

                                   Consent        to   Removal
                            By School District of Philadelphia

       Defendant, School District of Philadelphia, a Pennsylvania corporation with a principal

place of business located at 440 N Broad St, Philadelphia, PA 19130, consents to removal of this

civil action from the Court of Common Pleas of Philadelphia County to the United States District

Court for the Eastern District of Pennsylvania.


Dated: November             2021          THE SCHOOL DISTRICT OF PHILADELPHIA




                                                   School District of Philadelphia
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                                CERTIFICATE OF SERVICE

       I do hereby certify that service of a true and correct copy of the foregoing document was
e-filed via the ECF System (which is available for public viewing and printing) and has thus been
served this day upon all counsel of record.




 Dated: November Jj^, 2021
                                              POST & SCHELL, P.C.


                                              By

                                                    Richard B. Wickersham, Jr., Esquire
